                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

Melissa Merry, individually and on behalf of
all others similarly situated,               Case No. __________

              Plaintiff,                            CLASS ACTION COMPLAINT

       v.                                           JURY TRIAL DEMANDED

Change Healthcare Inc.,

              Defendant.



       Plaintiff Melissa Merry (“Plaintiff”) brings this Class Action Complaint

(“Complaint”) against Change Healthcare, Inc. (“Change” or “Defendant”), as an

individual and on behalf of all others similarly situated, and alleges, upon personal

knowledge as to her own actions and her counsels’ investigation, and upon information and

belief as to all other matters, as follows:

                               NATURE OF THE ACTION

       1.     This class action arises out of the recent cyberattack and data breach (“Data

Breach”) resulting from Change’s failure to implement reasonable and industry standard

data security practices.

       2.     Defendant is a healthcare company that provides payment and revenue cycle

services,   clinical   and   imaging    services,    and   other     services   to   its   clients.




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       3.     Plaintiff’s and Class Members’ sensitive personal information—which they

entrusted to Defendant on the mutual understanding that Defendant would protect it against

disclosure—was compromised and unlawfully accessed due to the Data Breach.

       4.     Change collected and maintained certain personally identifiable information

of Plaintiff and the putative Class Members (defined below), who are (or were) patients at

Change and/or Change’s clients.

       5.     The Private Information compromised in the Data Breach included Plaintiff’s

and Class Members’ “personally identifiable information” (“PII”) and medical

information, which is protected health information (“PHI”, and collectively with PII,

“Private Information”) as defined by the Health Insurance Portability and Accountability

Act of 1996 (“HIPAA”).

       6.     The Private Information compromised in the Data Breach was exfiltrated

by cyber-criminals and remains in the hands of those cyber-criminals who target Private

Information for its value to identity thieves.

       7.     As a result of the Data Breach, Plaintiff and Class Members, suffered

concrete injuries in fact including, but not limited to: (i) invasion of privacy; (ii) theft of

their Private Information; (iii) lost or diminished value of Private Information; (iv) lost

time and opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated

with attempting to mitigate the actual consequences of the Data Breach; (vii) statutory

damages; (viii) nominal damages; and (ix) the continued and certainly increased risk to

their Private Information, which: (a) remains unencrypted and available for unauthorized



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third parties to access and abuse; and (b) remains backed up in Defendant’s possession

and is subject to further unauthorized disclosures so long as Defendant fails to undertake

appropriate and adequate measures to protect the Private Information.

       8.     The Data Breach was a direct result of Defendant’s failure to implement

adequate and reasonable cyber-security procedures and protocols necessary to protect

patients’ Private Information from a foreseeable and preventable cyber-attack.

       9.     Defendant maintained the Private Information in a reckless manner. In

particular, the Private Information was maintained on Defendant’s computer network in

a condition vulnerable to cyberattacks. Upon information and belief, the mechanism of

the cyberattack and potential for improper disclosure of Plaintiff’s and Class Members’

Private Information was a known risk to Defendant, and thus, Defendant was on notice

that failing to take steps necessary to secure the Private Information from those risks left

that property in a dangerous condition.

       10.    Defendant disregarded the rights of Plaintiff and Class Members by, inter

alia, intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized

intrusions; failing to disclose that they did not have adequately robust computer systems

and security practices to safeguard Class Members’ Private Information; failing to take

standard and reasonably available steps to prevent the Data Breach; and failing to provide

Plaintiff and Class Members prompt and accurate notice of the Data Breach.

       11.    Plaintiff’s and Class Members’ identities are now at risk because of

Defendant’s negligent conduct because the Private Information that Defendant collected



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and maintained is now in the hands of data thieves.

       12.     Armed with the Private Information accessed in the Data Breach, data

thieves have already engaged in identity theft and fraud and can in the future commit a

variety of crimes including, e.g., opening new financial accounts in Class Members’

names, taken out loans in Class Members’ names, using Class Members’ information to

obtain government benefits, filing fraudulent tax returns using Class Members’

information, obtaining driver’s licenses in Class Members’ names but with another

person’s photograph, and giving false information to police during an arrest.

       13.     As a result of the Data Breach, Plaintiff and Class Members have been

exposed to a heightened and imminent risk of fraud and identity theft. Plaintiff and Class

Members must now and in the future closely monitor their financial accounts to guard

against identity theft.

       14.     Plaintiff and Class Members may also incur out of pocket costs, e.g., for

purchasing credit monitoring services, credit freezes, credit reports, or other protective

measures to deter and detect identity theft.

       15.     Plaintiff brings this class action lawsuit on behalf all those similarly situated

to address Defendant’s inadequate safeguarding of Class Members’ Private Information

that it collected and maintained, and for failing to provide timely and adequate notice to

Plaintiff and other Class Members that their information had been subject to the

unauthorized access by an unknown third party and precisely what specific type of

information was accessed.

       16.     Through this Complaint, Plaintiff seeks to remedy these harms on behalf of



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herself and all similarly situated individuals whose Private Information was accessed

during the Data Breach.

       17.    Plaintiff seeks remedies including, but not limited to, compensatory

damages and injunctive relief including improvements to Defendant’s data security

systems, future annual audits, and adequate credit monitoring services funded by

Defendant.

                                         PARTIES

       18.    Plaintiff Melissa Merry, is a natural person and citizen of Moreno Valley,

California.

       19.    Defendant, Change Healthcare Inc., is a corporation organized under the

state laws of Delaware, with its principal place of business located in Nashville,

Tennessee.

                            JURISDICTION AND VENUE

       20.    This Court has subject matter jurisdiction over this action under 28 U.S.C.§

1332(d) because this is a class action wherein the amount in controversy exceeds the sum

or value of $5,000,000, exclusive of interest and costs, there are more than 100 members

in the proposed class, and at least one member of the class, including Defendant, is a citizen

of a state different from Defendant.

       21.    This Court has personal jurisdiction over Defendant because its principal

place of business is in this District, regularly conducts business in Tennessee, and the acts

and omissions giving rise to Plaintiff’s claims occurred in and emanated from this District.




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         22.    Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s principal

place of business is in this District.

                               FACTUAL ALLEGATIONS

         Background

         23.    Defendant is a healthcare company that provides payment and revenue

cycle services, clinical and imaging services, and other services to its clients.

         24.    Plaintiff and Class Members are current and former patients at Defendant

and/or Defendant’s clients.

         25.    Upon information and belief, in the course of collecting Private Information

from patients, including Plaintiff, Defendant promised to provide confidentiality and

adequate security for patient data through its applicable privacy policy and through other

disclosures in compliance with statutory privacy requirements.

         26.    Indeed, Defendant provides on its website that:

         We implement and maintain organizational, technical, and administrative security
         measures designed to safeguard the data we process against unauthorized access,
         destruction, loss, alteration, or misuse. These measures are aimed at providing on-
         going integrity and confidentiality of data, including your personal information.
         We evaluate and update these measures on an ongoing basis. Your Personal
         Information is only accessible to personnel who need to access it to perform their
         duties. 1

         27.    In the course of their relationship, patients, including Plaintiff and Class

Members, provided Defendant with their Private Information, which Defendant could not

perform its regular business operations without.



1
    https://www.changehealthcare.com/privacy-notice



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         28.     Plaintiff and Class Members, as former and current patients of Defendant

and/or Defendant’s clients, relied on these promises and on this sophisticated business

entity to keep their sensitive Private Information confidential and securely maintained, to

use this information for business purposes only, and to make only authorized disclosures

of this information. Patients, in general, demand security to safeguard their Private

Information, especially when PHI and other sensitive Private Information is involved.

         The Data Breach

         29.     In an online notice published to its website in February 2024 (the “Notice”),

Defendant asserts that:

         Change Healthcare can confirm we are experiencing a cybersecurity issue
         perpetrated by a cybercrime threat actor who has represented itself to us as
         ALPHV/Blackcat.

         Our experts are working to address the matter and we are working closely with law
         enforcement and leading third-party consultants, Mandiant and Palo Alto Network,
         on this attack against Change Healthcare's systems. We are actively working to
         understand the impact to members, patients and customers.

         Patient care is our top priority, and we have multiple workarounds to ensure people
         have access to the medications and the care they need. Based on our ongoing
         investigation, there's no indication that Optum, UnitedHealthcare and
         UnitedHealth Group systems have been affected by this issue.

         We are working on multiple approaches to restore the impacted environment and
         continue to be proactive and aggressive with all our systems, and if we suspect any
         issue with the system, we will immediately take action. 2

         30.     Omitted from the Notice Letter were the root cause of the Data Breach, the

vulnerabilities exploited, and the remedial measures undertaken to ensure such a breach



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    The "Notice". A sample copy is available at https://status.changehealthcare.com/



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does not occur again. To date, these omitted details have not been explained or clarified

to Plaintiff and Class Members, who retain a vested interest in ensuring that their Private

Information remains protected.

       31.    Upon information and belief, the cyberattack was targeted at Defendant,

due to its status as a healthcare entity that collects, creates, and maintains Private

Information on its computer networks and/or systems.

       32.    The files containing Plaintiff’s and Class Members’ Private Information

that were targeted and stolen from Defendant.

       33.    Because of this targeted cyberattack, data thieves were able to gain access

to and obtain data from Defendant that included the Private Information of Plaintiff and

Class Members.

       34.    As evidenced by the Data Breach’s occurrence, the Private Information

contained in Defendant’s network was not encrypted. Had the information been properly

encrypted, the data thieves would have exfiltrated only unintelligible data.

       35.    Plaintiff further believes that his and Class Members’ Private Information

has been or soon will be disseminated on the dark web, to be available for purchase,

because that is the modus operandi of cybercriminals.

       36.    Defendant had obligations created by the FTC Act, HIPAA, contract, state

and federal law, common law, and industry standards to keep Plaintiff’s and Class

Members’ Private Information confidential and to protect it from unauthorized access and

disclosure.

       Data Breaches Are Preventable



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       37.    Defendant did not use reasonable security procedures and practices

appropriate to the nature of the sensitive information they were maintaining for Plaintiff

and Class Members, causing the exposure of Private Information, such as encrypting the

information or deleting it when it is no longer needed.

       38.    Defendant could have prevented this Data Breach by, among other things,

properly encrypting or otherwise protecting their equipment and computer files

containing Private Information.

       39.    To prevent and detect cyber-attacks and/or ransomware attacks Defendant

could and should have implemented, as recommended by the United States Government,

the following measures:

         ● Implement an awareness and training program. Because end users are targets,
           patients and individuals should be aware of the threat of ransomware and how
           it is delivered.

         ● Enable strong spam filters to prevent phishing emails from reaching the end
           users and authenticate inbound email using technologies like Sender Policy
           Framework (SPF), Domain Message Authentication Reporting and
           Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
           prevent email spoofing.

         ● Scan all incoming and outgoing emails to detect threats and filter executable
           files from reaching end users.

         ● Configure firewalls to block access to known malicious IP addresses.

         ● Patch operating systems, software, and firmware on devices. Consider using a
           centralized patch management system.

         ● Set anti-virus and anti-malware programs to conduct regular scans
           automatically.




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              ● Manage the use of privileged accounts based on the principle of least privilege:
                no users should be assigned administrative access unless absolutely needed;
                and those with a need for administrator accounts should only use them when
                necessary.

              ● Configure access controls—including file, directory, and network share
                permissions—with least privilege in mind. If a user only needs to read specific
                files, the user should not have write access to those files, directories, or shares.

              ● Disable macro scripts from office files transmitted via email. Consider using
                Office Viewer software to open Microsoft Office files transmitted via email
                instead of full office suite applications.

              ● Implement Software Restriction Policies (SRP) or other controls to prevent
                programs from executing from common ransomware locations, such as
                temporary    folders  supporting     popular    Internet   browsers     or
                compression/decompression programs, including the AppData/LocalAppData
                folder.

              ● Consider disabling Remote Desktop protocol (RDP) if it is not being used.

              ● Use application whitelisting, which only allows systems to execute programs
                known and permitted by security policy.

              ● Execute operating system environments or specific programs in a virtualized
                environment.

              ● Categorize data based on organizational value and implement physical and
                logical separation of networks and data for different organizational units. 3

          40.     To prevent and detect cyber-attacks or ransomware attacks, Defendant

could and should have implemented, as recommended by the Microsoft Threat Protection

Intelligence Team, the following measures:

          Secure internet-facing assets

          -       Apply latest security updates

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    Id. at 3-4.



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        -     Use threat and vulnerability management
        -     Perform regular audit; remove privileged credentials;

        Thoroughly investigate and remediate alerts

        -     Prioritize and treat commodity malware infections as potential full
              compromise;

        Include IT Pros in security discussions

        -     Ensure collaboration among [security operations], [security admins], and
              [information technology] admins to configure servers and other endpoints
              securely;

        Build credential hygiene

        -     Use [multifactor authentication] or [network level authentication] and use
              strong, randomized, just-in-time local admin passwords;

        Apply principle of least-privilege

        -     Monitor for adversarial activities
        -     Hunt for brute force attempts
        -     Monitor for cleanup of Event Logs
        -     Analyze logon events;

        Harden infrastructure

        -     Use Windows Defender Firewall
        -     Enable tamper protection
        -     Enable cloud-delivered protection
        -     Turn on attack surface reduction rules and [Antimalware Scan Interface] for
              Office[Visual Basic for Applications]. 4

        41.   Given that Defendant was storing the Private Information of its current and

former patients and its clients’ patients, Defendant could and should have implemented



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  See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at:
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/ (last visited Nov. 11, 2021).



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all of the above measures to prevent and detect cyberattacks.

       42.      The occurrence of the Data Breach indicates that Defendant failed to

adequately implement one or more of the above measures to prevent cyberattacks,

resulting in the Data Breach and, upon information and belief, the exposure of the Private

Information of thousands to tens of thousands of patients, including that of Plaintiff and

Class Members.

       Defendant Acquires, Collects, And Stores Patients’ Private Information

       43.      Defendant acquires, collects, and stores a massive amount of Private

Information on its patients, its clients’ patients, and other personnel.

       44.      As a condition of obtaining medical services at Change and/or Change’s

clients,     Defendant requires that patients entrust it with highly sensitive personal

information.

       45.      By obtaining, collecting, and using Plaintiff’s and Class Members’ Private

Information, Defendant assumed legal and equitable duties and knew or should have

known that it was responsible for protecting Plaintiff’s and Class Members’ Private

Information from disclosure.

       46.      Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information and would not have entrusted it to Defendant

absent a promise to safeguard that information.

       47.      Plaintiff and the Class Members relied on Defendant to keep their Private

Information confidential and securely maintained, to use this information for business

purposes only, and to make only authorized disclosures of this information.



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          Defendant Knew or Should Have Known of the Risk Because Healthcare
          Entities In Possession Of Private Information Are Particularly Suspectable To
          Cyber Attacks

          48.    Defendant’s data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting healthcare entities that

collect and store Private Information, like Defendant, preceding the date of the breach.

          49.    Data breaches, including those perpetrated against healthcare entities that

store Private Information in their systems, have become widespread.

          50.    According to the 2023 Annual Data Breach Report, the number of data

compromises in 2023 (3,205) increased by 78 percentage points compared to 2022

(1,801). 5 The ITRC set a new record for the number of data compromises tracked in a

year, up 72 percentage points from the previous all-time high in 2021 (1,860). 6

          51.    In light of recent high profile cybersecurity incidents at other healthcare

partner and provider companies, including American Medical Collection Agency (25

million patients, March 2019), University of Washington Medicine (974,000 patients,

December 2018), Florida Orthopedic Institute (640,000 patients, July 2020), Wolverine

Solutions Group (600,000 patients, September 2018), Oregon Department of Human

Services (645,000 patients, March 2019), Elite Emergency Physicians (550,000 patients,

June 2020), Magellan Health (365,000 patients, April 2020), and BJC Health System

(286,876 patients, March 2020), Defendant knew or should have known that its electronic



5
    https://www.idtheftcenter.org/publication/2023-data-breach-report/
6
    Id.



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records would be targeted by cybercriminals.

       52.     Defendant knew and understood unprotected or exposed Private

Information in the custody of healthcare entities, like Defendant, is valuable and highly

sought after by nefarious third parties seeking to illegally monetize that Private

Information through unauthorized access.

       53.     At all relevant times, Defendant knew, or reasonably should have known,

of the importance of safeguarding the Private Information of Plaintiff and Class Members

and of the foreseeable consequences that would occur if Defendant’s data security system

was breached, including, specifically, the significant costs that would be imposed on

Plaintiff and Class Members as a result of a breach.

       54.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and

will continue to incur such damages in addition to any fraudulent use of their Private

Information.

       55.     The injuries to Plaintiff and Class Members were directly and proximately

caused by Defendant’s failure to implement or maintain adequate data security measures

for the Private Information of Plaintiff and Class Members.

       56.     The ramifications of Defendant’s failure to keep secure the Private

Information of Plaintiff and Class Members are long lasting and severe. Once Private

Information is stolen, fraudulent use of that information and damage to victims may

continue for years.

       57.     As a healthcare entity in custody of its patients’ and its clients’ patients’



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Private Information, Defendant knew, or should have known, the importance of

safeguarding Private Information entrusted to them by Plaintiff and Class Members, and

of the foreseeable consequences if its data security systems were breached. This includes

the significant costs imposed on Plaintiff and Class Members as a result of a breach.

Defendant failed, however, to take adequate cybersecurity measures to prevent the Data

Breach.

          Value Of Personally Identifiable Information

          58.   The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without

authority.” 7 The FTC describes “identifying information” as “any name or number that

may be used, alone or in conjunction with any other information, to identify a specific

person,” including, among other things, “[n]ame, Social Security number, date of birth,

official State or government issued driver’s license or identification number, alien

registration number, government passport number, employer or taxpayer identification

number.” 8

          59.   The PII of individuals remains of high value to criminals, as evidenced by

the prices they will pay through the dark web. Numerous sources cite dark web pricing

for stolen identity credentials. 9


7
    17 C.F.R. § 248.201 (2013).
8
    Id.
9
 Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/ (last visited Oct. 17, 2022).



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         60.   For example, PII can be sold at a price ranging from $40 to $200. 10

Criminals can also purchase access to entire company data breaches from $900 to

$4,500. 11

         61.   PII can sell for as much as $363 per record according to the Infosec

Institute. 12 PII is particularly valuable because criminals can use it to target victims with

frauds and scams.

         62.   Identity thieves use stolen PII for a variety of crimes, including credit card

fraud, phone or utilities fraud, and bank/finance fraud.

         63.   Theft of PHI is also gravely serious: “[a] thief may use your name or health

insurance numbers to see a doctor, get prescription drugs, file claims with your insurance

provider, or get other care. If the thief’s health information is mixed with yours, your

treatment, insurance and payment records, and credit report may be affected.”

         64.   According to account monitoring company LogDog, medical data sells for

$50 and up on the Dark Web. 13

         65.   Based on the foregoing, the information compromised in the Data Breach


10
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6,
2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last visited Oct. 17, 2022).
11
  In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last visited Oct. 217, 2022).
12
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last visited May 7, 2023).
13
  Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security
(Oct. 3, 2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content (last accessed July 20, 2021)



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is significantly more valuable than the loss of, for example, credit card information in a

retailer data breach because, there, victims can cancel or close credit and debit card

accounts. The information compromised in this Data Breach is impossible to “close” and

difficult, if not impossible, to change.

          66.    This data demands a much higher price on the black market. Martin Walter,

senior director at cybersecurity firm RedSeal, explained, “Compared to credit card

information, personally identifiable information . . . [is] worth more than 10x on the black

market.” 14

          67.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to

police.

          68.    The fraudulent activity resulting from the Data Breach may not come to

light for years. There may be a time lag between when harm occurs versus when it is

discovered, and also between when Private Information is stolen and when it is used.

According to the U.S. Government Accountability Office (“GAO”), which conducted a

study regarding data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be held for
          up to a year or more before being used to commit identity theft. Further, once stolen
          data have been sold or posted on the Web, fraudulent use of that information may
          continue for years. As a result, studies that attempt to measure the harm resulting
          from data breaches cannot necessarily rule out all future harm. 15

14
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers,          IT        World,       (Feb.         6,        2015), available         at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last visited Oct. 17, 2022).
15
      Report to Congressional Requesters, GAO, at 29 (June 2007), available at:


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           Defendant Fails To Comply With FTC Guidelines

           69.   The Federal Trade Commission (“FTC”) has promulgated numerous guides

for businesses which highlight the importance of implementing reasonable data security

practices. According to the FTC, the need for data security should be factored into all

business decision-making.

           70.   In 2016, the FTC updated its publication, Protecting Personal Information:

A Guide for Business, which established cyber-security guidelines for businesses. These

guidelines note that businesses should protect the personal patient information that they

keep; properly dispose of personal information that is no longer needed; encrypt

information stored on computer networks; understand their network’s vulnerabilities; and

implement policies to correct any security problems. 16

           71.   The guidelines also recommend that healthcare businesses use an intrusion

detection system to expose a breach as soon as it occurs; monitor all incoming traffic for

activity indicating someone is attempting to hack the system; watch for large amounts of

data being transmitted from the system; and have a response plan ready in the event of a

breach. 17

           72.   The FTC further recommends that healthcare companies not maintain




https://www.gao.gov/assets/gao-07-737.pdf (last visited Oct. 17, 2022).
16
  Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf (last visited Oct. 17, 2022).
17
     Id.



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Private Information longer than is needed for authorization of a transaction; limit access

to sensitive data; require complex passwords to be used on networks; use industry-tested

methods for security; monitor for suspicious activity on the network; and verify that third-

party service providers have implemented reasonable security measures.

       73.    The FTC has brought enforcement actions against healthcare entities for

failing to protect patient data adequately and reasonably, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential patient data as an unfair act or practice prohibited by Section 5 of the Federal

Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions

further clarify the measures businesses must take to meet their data security obligations.

       74.    These FTC enforcement actions include actions against healthcare

providers like Defendant. See, e.g., In the Matter of LabMd, Inc., A Corp, 2016-2 Trade

Cas. (Change) ¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he

Commission concludes that LabMD’s data security practices were unreasonable and

constitute an unfair act or practice in violation of Section 5 of the FTC Act.”).

       75.    Defendant failed to properly implement basic data security practices.

       76.    Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to patients’ Private Information constitutes an unfair

act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       77.    Upon information and belief, Defendant was at all times fully aware of its

obligation to protect the Private Information of its patients and its clients’ patients.

Defendant was also aware of the significant repercussions that would result from its



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failure to do so.

         Defendant Fails To Comply With HIPAA Guidelines

         78.   Defendant is a business associate under HIPAA (45 C.F.R. § 160.102) and

is required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part

160 and Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable

Health Information”), and Security Rule (“Security Standards for the Protection of

Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A

and C.

         79.   Defendant is subject to the rules and regulations for safeguarding electronic

forms of medical information pursuant to the Health Information Technology Act

(“HITECH”). 18 See 42 U.S.C. §17921, 45 C.F.R. § 160.103.

         80.   HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable

Health Information establishes national standards for the protection of health information.

         81.   HIPAA’s Privacy Rule or Security Standards for the Protection of

Electronic Protected Health Information establishes a national set of security standards

for protecting health information that is kept or transferred in electronic form.

         82.   HIPAA      requires   “compl[iance]    with    the   applicable      standards,

implementation specifications, and requirements” of HIPAA “with respect to electronic

protected health information.” 45 C.F.R. § 164.302.

         83.   “Electronic protected health information” is “individually identifiable


18
  HIPAA and HITECH work in tandem to provide guidelines and rules for maintaining protected
health information. HITECH references and incorporates HIPAA.



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health information … that is (i) transmitted by electronic media; maintained in electronic

media.” 45 C.F.R. § 160.103.

       84.    HIPAA’s Security Rule requires Defendant to do the following:

              a.     Ensure the confidentiality, integrity, and availability of all electronic

                     protected health information the covered entity or business associate

                     creates, receives, maintains, or transmits;

              b.     Protect against any reasonably anticipated threats or hazards to the

                     security or integrity of such information;

              c.     Protect against any reasonably anticipated uses or disclosures of such

                     information that are not permitted; and

              d.     Ensure compliance by its workforce.

       85.    HIPAA also requires Defendant to “review and modify the security

measures implemented … as needed to continue provision of reasonable and appropriate

protection of electronic protected health information.” 45 C.F.R. § 164.306(e).

Additionally, Defendant is required under HIPAA to “[i]mplement technical policies and

procedures for electronic information systems that maintain electronic protected health

information to allow access only to those persons or software programs that have been

granted access rights.” 45 C.F.R. § 164.312(a)(1).

       86.    HIPAA and HITECH also obligated Defendant to implement policies and

procedures to prevent, detect, contain, and correct security violations, and to protect

against uses or disclosures of electronic protected health information that are reasonably

anticipated but not permitted by the privacy rules. See 45 C.F.R. § 164.306(a)(1) and §



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164.306(a)(3); see also 42 U.S.C. §17902.

         87.    The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, also

requires Defendant to provide notice of the Data Breach to each affected individual

“without unreasonable delay and in no case later than 60 days following discovery of the

breach.” 19

         88.    HIPAA requires a business associate to have and apply appropriate

sanctions against members of its workforce who fail to comply with the privacy policies

and procedures of the business associate or the requirements of 45 C.F.R. Part 164,

Subparts D or E. See 45 C.F.R. § 164.530(e).

         89.    HIPAA requires a business associate to mitigate, to the extent practicable,

any harmful effect that is known to the covered entity of a use or disclosure of protected

health information in violation of its policies and procedures or the requirements of 45

C.F.R. Part 164, Subpart E by the covered entity or its business associate. See 45 C.F.R.

§ 164.530(f).

         90.    HIPAA also requires the Office of Civil Rights (“OCR”), within the

Department of Health and Human Services (“HHS”), to issue annual guidance documents

on the provisions in the HIPAA Security Rule. See 45 C.F.R. §§ 164.302-164.318. For

example, “HHS has developed guidance and tools to assist HIPAA covered entities in

identifying and implementing the most cost effective and appropriate administrative,

physical, and technical safeguards to protect the confidentiality, integrity, and availability


19
     Breach Notification Rule, U.S. Dep’t of Health & Human Services,
https://www.hhs.gov/hipaa/for-professionals/breach-notification/index.html (emphasis added).



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of e-PHI and comply with the risk analysis requirements of the Security Rule.” US

Department of Health & Human Services, Security Rule Guidance Material. 20 The list of

resources includes a link to guidelines set by the National Institute of Standards and

Technology (NIST), which OCR says “represent the industry standard for good business

practices with respect to standards for securing e-PHI.” US Department of Health &

Human Services, Guidance on Risk Analysis. 21

          Defendant Fails To Comply With Industry Standards

          91.    As noted above, experts studying cyber security routinely identify

healthcare entities in possession of Private Information as being particularly vulnerable

to cyberattacks because of the value of the Private Information which they collect and

maintain.

          92.    Several best practices have been identified that, at a minimum, should be

implemented by healthcare entities in possession of Private Information, like Defendant,

including but not limited to: educating all employees; strong passwords; multi-layer

security, including firewalls, anti-virus, and anti-malware software; encryption, making

data unreadable without a key; multi-factor authentication; backup data and limiting

which employees can access sensitive data. Defendant failed to follow these industry best

practices, including a failure to implement multi-factor authentication.

          93.    Other best cybersecurity practices that are standard in the healthcare


20
     http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html.
21
                   https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-
analysis/index.html



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industry include installing appropriate malware detection software; monitoring and

limiting the network ports; protecting web browsers and email management systems;

setting up network systems such as firewalls, switches and routers; monitoring and

protection of physical security systems; protection against any possible communication

system; training staff regarding critical points. Defendant failed to follow these

cybersecurity best practices, including failure to train staff.

       94.    Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without

limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1,

PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and

RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS CSC),

which are all established standards in reasonable cybersecurity readiness.

       95.    These foregoing frameworks are existing and applicable industry standards

in the healthcare industry, and upon information and belief, Defendant failed to comply

with at least one––or all––of these accepted standards, thereby opening the door to the

threat actor and causing the Data Breach.

                          COMMON INJURIES & DAMAGES

       96.    As a result of Defendant’s ineffective and inadequate data security

practices, the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to the Plaintiff and Class

Members has materialized and is imminent, and Plaintiff and Class Members have all

sustained actual injuries and damages, including: (a) invasion of privacy; (b) loss of time



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and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (c) the loss of benefit of the bargain (price premium damages); (d)

diminution of value of their Private Information; I invasion of privacy; and (f) the

continued risk to their Private Information, which remains in the possession of Defendant,

and which is subject to further breaches, so long as Defendant fails to undertake

appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

       The Data Breach Increases Victims’ Risk Of Identity Theft

       97.     Plaintiff and Class Members are at a heightened risk of identity theft for

years to come.

       98.     The unencrypted Private Information of Class Members will end up for sale

on the dark web because that is the modus operandi of hackers. In addition, unencrypted

Private Information may fall into the hands of companies that will use the detailed Private

Information for targeted marketing without the approval of Plaintiff and Class Members.

Unauthorized individuals can easily access the Private Information of Plaintiff and Class

Members.

       99.     The link between a data breach and the risk of identity theft is simple and

well established. Criminals acquire and steal Private Information to monetize the

information. Criminals monetize the data by selling the stolen information on the black

market to other criminals who then utilize the information to commit a variety of identity

theft related crimes discussed below.

       100.    Because a person’s identity is akin to a puzzle with multiple data points, the



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more accurate pieces of data an identity thief obtains about a person, the easier it is for

the thief to take on the victim’s identity--or track the victim to attempt other crimes against

the individual to obtain more data to perfect a crime.

         101.   For example, armed with just a name and date of birth, a data thief can

utilize a hacking technique referred to as “social engineering” to obtain even more

information about a victim’s identity, such as a person’s login credentials or Social

Security number. Social engineering is a form of hacking whereby a data thief uses

previously acquired information to manipulate and trick individuals into disclosing

additional confidential or personal information through means such as spam phone calls

and text messages or phishing emails. Data Breaches can be the starting point for these

additional targeted attacks on the victim.

         102.   One such example of criminals piecing together bits and pieces of

compromised PII for profit is the development of “Fullz” packages. 22

         103.   With “Fullz” packages, cyber-criminals can cross-reference two sources of


22
  “Fullz” is fraudster speak for data that includes the information of the victim, including, but not
limited to, the name, address, credit card information, social security number, date of birth, and
more. As a rule of thumb, the more information you have on a victim, the more money that can be
made off of those credentials. Fullz are usually pricier than standard credit card credentials,
commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials
associated with credit cards that are no longer valid, can still be used for numerous purposes,
including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account)
without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground
Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-
texas-life-insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
underground-stolen-from-texas-life-insurance-finn/ (last visited on May 26, 2023).



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Private Information to marry unregulated data available elsewhere to criminally stolen

data with an astonishingly complete scope and degree of accuracy in order to assemble

complete dossiers on individuals.

       104.   The development of “Fullz” packages means here that the stolen Private

Information from the Data Breach can easily be used to link and identify it to Plaintiffs’

and Class Members’ phone numbers, email addresses, and other unregulated sources and

identifiers. In other words, even if certain information such as emails, phone numbers, or

credit card numbers may not be included in the Private Information that was exfiltrated

in the Data Breach, criminals may still easily create a Fullz package and sell it at a higher

price to unscrupulous operators and criminals (such as illegal and scam telemarketers)

over and over.

       105.   The existence and prevalence of “Fullz” packages means that the Private

Information stolen from the data breach can easily be linked to the unregulated data (like

phone numbers and emails) of Plaintiff and the other Class Members.

       106.   Thus, even if certain information (such as Social Security numbers) was not

stolen in the data breach, criminals can still easily create a comprehensive “Fullz”

package.

       107.   Then, this comprehensive dossier can be sold—and then resold in

perpetuity—to crooked operators and other criminals (like illegal and scam

telemarketers).

       Loss Of Time To Mitigate Risk Of Identity Theft And Fraud

       108.   As a result of the recognized risk of identity theft, when a Data Breach



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occurs, and an individual is notified by a company that their Private Information was

compromised, as in this Data Breach, the reasonable person is expected to take steps and

spend time to address the dangerous situation, learn about the breach, and otherwise

mitigate the risk of becoming a victim of identity theft of fraud. Failure to spend time

taking steps to review accounts or credit reports could expose the individual to greater

financial harm – yet, the resource and asset of time has been lost.

         109.   Plaintiff and Class Members have spent, and will spend additional time in

the future, on a variety of prudent actions, such as researching and verifying the legitimacy

of the Data Breach.

         110.   Plaintiff’s mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO

Report”) in which it noted that victims of identity theft will face “substantial costs and

time to repair the damage to their good name and credit record.” 23

         111.   Plaintiff’s mitigation efforts are also consistent with the steps that FTC

recommends that data breach victims take several steps to protect their personal and

financial information after a data breach, including: contacting one of the credit bureaus

to place a fraud alert (consider an extended fraud alert that lasts for seven years if someone

steals their identity), reviewing their credit reports, contacting companies to remove




23
  See United States Government Accountability Office, GAO-07-737, Personal Information: Data
Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
Extent Is Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.




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fraudulent charges from their accounts, placing a credit freeze on their credit, and

correcting their credit reports. 24

         112.   And for those Class Members who experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft

will face “substantial costs and time to repair the damage to their good name and credit

record.” 25

         Diminution Value Of Private Information

         113.   PII and PHI are valuable property rights. 26 Their value is axiomatic,

considering the value of Big Data in corporate America and the consequences of cyber

thefts include heavy prison sentences. Even this obvious risk to reward analysis illustrates

beyond doubt that Private Information has considerable market value.

         114.   An active and robust legitimate marketplace for Private Information exists.

In 2019, the data brokering industry was worth roughly $200 billion. 27

         115.   In fact, the data marketplace is so sophisticated that consumers can actually


24
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last
visited July 7, 2022).
25
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last visited Sep. 13, 2022) (“GAO Report”).
26
   See, e.g., Randall T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“Private Information”) Equals the “Value" of Financial Assets, 15 Rich.
J.L. & Tech. 11, at *3-4 (2009) (“Private Information, which companies obtain at little cost, has
quantifiable value that is rapidly reaching a level comparable to the value of traditional financial
assets.”) (citations omitted).
27
     https://www.latimes.com/business/story/2019-11-05/column-data-brokers



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sell their non-public information directly to a data broker who in turn aggregates the

information and provides it to marketers or app developers. 28,29

          116.   Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year. 30

          117.   Conversely sensitive PII can sell for as much as $363 per record on the dark

web according to the Infosec Institute. 31

          118.   As a result of the Data Breach, Plaintiff’s and Class Members’ Private

Information, which has an inherent market value in both legitimate and dark markets, has

been damaged and diminished by its compromise and unauthorized release. However, this

transfer of value occurred without any consideration paid to Plaintiff or Class Members

for their property, resulting in an economic loss. Moreover, the Private Information is

now readily available, and the rarity of the Data has been lost, thereby causing additional

loss of value.

          119.   Based on the foregoing, the information compromised in the Data Breach

is significantly more valuable than the loss of, for example, credit card information in a

retailer data breach because, there, victims can cancel or close credit and debit card

accounts. The information compromised in this Data Breach is impossible to “close” and


28
     https://datacoup.com/
29
     https://digi.me/what-is-digime/
30
    Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html
31
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last visited Sep. 13, 2022).



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difficult, if not impossible, to change.

          120.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to

police.

          121.   The fraudulent activity resulting from the Data Breach may not come to

light for years.

          122.   At all relevant times, Defendant knew, or reasonably should have known,

of the importance of safeguarding the Private Information of Plaintiff and Class Members,

and of the foreseeable consequences that would occur if Defendant’s data security system

was breached, including, specifically, the significant costs that would be imposed on

Plaintiff and Class Members as a result of a breach.

          123.   The injuries to Plaintiff and Class Members were directly and proximately

caused by Defendant’s failure to implement or maintain adequate data security measures

for the Private Information of Plaintiff and Class Members.

          Future Cost of Credit and Identity Theft Monitoring is Reasonable and
          Necessary

          124.   Given the type of targeted attack in this case and sophisticated criminal

activity, the type of Private Information involved, and the volume of data obtained in the

Data Breach, there is a strong probability that entire batches of stolen information have

been placed, or will be placed, on the black market/dark web for sale and purchase by

criminals intending to utilize the Private Information for identity theft crimes –e.g.,

opening bank accounts in the victims’ names to make purchases or to launder money; file




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false tax returns; take out loans or lines of credit; or file false unemployment claims.

       125.   Such fraud may go undetected until debt collection calls commence months,

or even years, later. An individual may not know that his or her personal information was

used to file for unemployment benefits until law enforcement notifies the individual’s

employer of the suspected fraud. Fraudulent tax returns are typically discovered only

when an individual’s authentic tax return is rejected.

       126.   Consequently, Plaintiff and Class Members are at a present and continuous

risk of fraud and identity theft for many years into the future.

       127.   The retail cost of credit monitoring and identity theft monitoring can cost

around $200 a year per Class Member. This is a reasonable and necessary cost to monitor

to protect Class Members from the risk of identity theft that arose from Defendant’s Data

Breach. This is a future cost for a minimum of five years that Plaintiff and Class Members

would not need to bear but for Defendant’s failure to safeguard their Private Information.

       Loss Of The Benefit Of The Bargain

       128.   Furthermore, Defendant’s poor data security deprived Plaintiff and Class

Members of the benefit of their bargain. When agreeing to pay Defendant and/or its clients

for the provision of medical services, Plaintiff and other reasonable consumers understood

and expected that they were, in part, paying for the service and necessary data security to

protect the Private Information, when in fact, Defendant did not provide the expected data

security. Accordingly, Plaintiff and Class Members received services that were of a lesser

value than what they reasonably expected to receive under the bargains they struck with

Defendant and/or its clients.



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                        PLAINTIFF MERRY’S EXPERIENCE

       129.   Plaintiff Melissa Merry has received insurance services through Defendant.

       130.   In order to obtain services at Defendant, she was required to provide her

Private Information to Defendant.

       131.   Upon information and belief, at the time of the Data Breach, Defendant

retained Plaintiff’s Private Information in its system.

       132.   Plaintiff is very careful about sharing her sensitive Private Information.

Plaintiff stores any documents containing her Private Information in a safe and secure

location. She has never knowingly transmitted unencrypted sensitive Private Information

over the internet or any other unsecured source. Plaintiff would not have entrusted his

Private Information to Defendant had he known of Defendant’s lax data security policies.

        133. Upon information and belief, Plaintiff’s PII and/or PHI was improperly

 accessed and obtained by unauthorized third parties in the Data Breach.

       134.   As a result of the Data Breach, Plaintiff made reasonable efforts to mitigate

the impact of the Data Breach, including researching and verifying the legitimacy of the

Data Breach. Plaintiff has spent significant time dealing with the Data Breach₋₋valuable

time Plaintiff otherwise would have spent on other activities, including but not limited to

work and/or recreation. This time has been lost forever and cannot be recaptured.

       135.   Plaintiff suffered actual injury from having her Private Information

compromised as a result of the Data Breach including, but not limited to: (i) invasion of

privacy; (ii) theft of his Private Information; (iii) lost or diminished value of Private

Information; (iv) lost time and opportunity costs associated with attempting to mitigate



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the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to his Private Information, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private

Information.

       136.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress,

which has been compounded by the fact that Defendant has still not fully informed him

of key details about the Data Breach’s occurrence.

       137.    As a result of the Data Breach, Plaintiff anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address harms caused by the

Data Breach.

       138.    As a result of the Data Breach, Plaintiff is at a present risk and will continue

to be at increased risk of identity theft and fraud for years to come.

       139.    Plaintiff has a continuing interest in ensuring that her Private Information,

which, upon information and belief, remains backed up in Defendant’s possession, is

protected and safeguarded from future breaches.

                          CLASS ACTION ALLEGATIONS

       140.    Plaintiff brings this action individually and on behalf of all other persons

similarly situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2),



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and 23(b)(3).

       141.     Specifically, Plaintiff proposes the following class definitions, subject to

amendment as appropriate:

       Nationwide Class
       All persons in the United States whose Private Information was compromised as a
       result of the Data Breach reported by Defendant (the “Class”).

       142.     Excluded from the Class are Defendant and its parents or subsidiaries, any

entities in which it has a controlling interest, as well as its officers, directors, affiliates,

legal representatives, heirs, predecessors, successors, and assigns. Also excluded is any

Judge to whom this case is assigned as well as their judicial staff and immediate family

members.

       143.     Plaintiff reserves the right to modify or amend the definition of the proposed

Class, as well as add subclasses, before the Court determines whether certification is

appropriate.

       144.     The proposed Class meets the criteria for certification under Fed. R. Civ. P.

23(a), (b)(2), and (b)(3).

       145.     Numerosity. The Class Members are so numerous that joinder of all

members is impracticable. Although the precise number of such persons is unknown to

Plaintiff and exclusively in the possession of Defendant, upon information and belief,

thousands of individuals were impacted in the Data Breach.

       146.     Commonality. There are questions of law and fact common to the Class

which predominate over any questions affecting only individual Class Members. These

common questions of law and fact include, without limitation:



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       a. Whether Defendant engaged in the conduct alleged herein;

       b. Whether Defendant’s conduct violated the FTCA and/or HIPAA;

       c. When Defendant learned of the Data Breach;

       d. Whether Defendant’s response to the Data Breach was adequate;

       e. Whether Defendant unlawfully lost or disclosed Plaintiff’s and Class

          Members’ Private Information;

       f. Whether Defendant failed to implement and maintain reasonable security

          procedures and practices appropriate to the nature and scope of the Private

          Information compromised in the Data Breach;

       g. Whether Defendant’s data security systems prior to and during the Data

          Breach complied with applicable data security laws and regulations;

       h. Whether Defendant’s data security systems prior to and during the Data

          Breach were consistent with industry standards;

       i. Whether Defendant owed a duty to Class Members to safeguard their Private

          Information;

       j. Whether Defendant breached its duty to Class Members to safeguard their

          Private Information;

       k. Whether hackers obtained Class Members’ Private Information via the Data

          Breach;

       l. Whether Defendant had a legal duty to provide timely and accurate notice of

          the Data Breach to Plaintiff and the Class Members;

       m. Whether Defendant breached its duty to provide timely and accurate notice



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              of the Data Breach to Plaintiff and Class Members;

          n. Whether Defendant knew or should have known that its data security systems

              and monitoring processes were deficient;

          o. What damages Plaintiff and Class Members suffered as a result of

              Defendant’s misconduct;

          p. Whether Defendant’s conduct was negligent;

          q. Whether Defendant was unjustly enriched;

          r. Whether Plaintiff and Class Members are entitled to actual and/or statutory

              damages;

          s. Whether Plaintiff and Class Members are entitled to additional credit or

              identity monitoring and monetary relief; and

          t. Whether Plaintiff and Class Members are entitled to equitable relief,

              including   injunctive   relief,   restitution,    disgorgement,   and/or   the

              establishment of a constructive trust.

       147.   Typicality. Plaintiff’s claims are typical of those of other Class Members

because Plaintiff’s Private Information, like that of every other Class Member, was

compromised in the Data Breach. Plaintiff’s claims are typical of those of the other Class

Members because, inter alia, all Class Members were injured through the common

misconduct of Defendant. Plaintiff is advancing the same claims and legal theories on

behalf of himself and all other Class Members, and there are no defenses that are unique

to Plaintiff. The claims of Plaintiff and those of Class Members arise from the same

operative facts and are based on the same legal theories.



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       148.   Adequacy of Representation. Plaintiff will fairly and adequately represent

and protect the interests of Class Members. Plaintiff’s counsel is competent and

experienced in litigating class actions, including data privacy litigation of this kind.

       149.   Predominance. Defendant has engaged in a common course of conduct

toward Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was

stored on the same computer systems and unlawfully accessed and exfiltrated in the same

way. The common issues arising from Defendant’s conduct affecting Class Members set

out above predominate over any individualized issues. Adjudication of these common

issues in a single action has important and desirable advantages of judicial economy.

       150.   Superiority. A Class action is superior to other available methods for the

fair and efficient adjudication of this controversy and no unusual difficulties are likely to

be encountered in the management of this class action. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal litigation.

Absent a Class action, most Class Members would likely find that the cost of litigating

their individual claims is prohibitively high and would therefore have no effective

remedy. The prosecution of separate actions by individual Class Members would create a

risk of inconsistent or varying adjudications with respect to individual Class Members,

which would establish incompatible standards of conduct for Defendant. In contrast,

conducting this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

       151.   Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2).



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Defendant has acted and/or refused to act on grounds generally applicable to the Class

such that final injunctive relief and/or corresponding declaratory relief is appropriate as

to the Class as a whole.

       152.   Finally, all members of the proposed Class are readily ascertainable.

Defendant has access to the names and addresses and/or email addresses of Class

Members affected by the Data Breach. Class Members have already been preliminarily

identified and sent Notice of the Data Breach by Defendant.

                                        COUNT I
                                       Negligence
                           (On Behalf of Plaintiff and the Class)

       153.   Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1 through 152.

       154.   Defendant requires its patients and its clients’ patients, including Plaintiff

and Class Members, to submit non-public Private Information in the ordinary course of

providing its services.

       155.   Defendant gathered and stored the Private Information of Plaintiff and Class

Members as part of its business of soliciting its services to its patients and its clients, which

solicitations and services affect commerce.

       156.   Plaintiff and Class Members entrusted Defendant with their Private

Information with the understanding that Defendant would safeguard their information.

       157.   Defendant had full knowledge of the sensitivity of the Private Information

and the types of harm that Plaintiff and Class Members could and would suffer if the Private

Information were wrongfully disclosed.



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       158.   By assuming the responsibility to collect and store this data, and in fact doing

so, and sharing it and using it for commercial gain, Defendant had a duty of care to use

reasonable means to secure and safeguard their computer property—and Class Members’

Private Information held within it—to prevent disclosure of the information, and to

safeguard the information from theft. Defendant’s duty included a responsibility to

implement processes by which they could detect a breach of its security systems in a

reasonably expeditious period of time and to give prompt notice to those affected in the

case of a data breach.

       159.   Defendant had a duty to employ reasonable security measures under Section

5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC,

the unfair practice of failing to use reasonable measures to protect confidential data.

       160.   Defendant's duty to use reasonable security measures under HIPAA

required Defendant to "reasonably protect" confidential data from "any intentional or

unintentional use or disclosure" and to "have in place appropriate administrative,

technical, and physical safeguards to protect the privacy of protected health information."

45 C.F.R. § 164.530(c)(l). Some or all of the healthcare and/or medical information at

issue in this case constitutes "protected health information" within the meaning of

HIPAA.

       161.   Defendant owed a duty of care to Plaintiff and Class Members to provide

data security consistent with industry standards and other requirements discussed herein,

and to ensure that its systems and networks, and the personnel responsible for them,



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adequately protected the Private Information.

       162.   Defendant’s duty of care to use reasonable security measures arose as a

result of the special relationship that existed between Defendant and its patients. That

special relationship arose because Plaintiff and the Class entrusted Defendant with their

confidential Private Information, a necessary part of being patients of Defendant and/or

Defendant’s clients.

       163.   Defendant’s duty to use reasonable care in protecting confidential data

arose not only as a result of the statutes and regulations described above, but also because

Defendant is bound by industry standards to protect confidential Private Information.

       164.   Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

       165.   Defendant also had a duty to exercise appropriate clearinghouse practices

to remove former patients’ Private Information it was no longer required to retain pursuant

to regulations.

       166.   Moreover, Defendant had a duty to promptly and adequately notify Plaintiff

and the Class of the Data Breach.

       167.   Defendant had and continues to have a duty to adequately disclose that the

Private Information of Plaintiff and the Class within Defendant’s possession might have

been compromised, how it was compromised, and precisely the types of data that were

compromised and when. Such notice was necessary to allow Plaintiff and the Class to

take steps to prevent, mitigate, and repair any identity theft and the fraudulent use of their

Private Information by third parties.



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      168.   Defendant breached its duties, pursuant to the FTC Act, HIPAA, and other

applicable standards, and thus were negligent, by failing to use reasonable measures to

protect Class Members’ Private Information. The specific negligent acts and omissions

committed by Defendant include, but are not limited to, the following:

          a. Failing to adopt, implement, and maintain adequate security measures to

             safeguard Class Members’ Private Information;

          b. Failing to adequately monitor the security of their networks and systems;

          c. Failure to periodically ensure that their email system had plans in place to

             maintain reasonable data security safeguards;

          d. Allowing unauthorized access to Class Members’ Private Information;

          e. Failing to detect in a timely manner that Class Members’ Private Information

             had been compromised;

          f. Failing to remove former patients’ Private Information it was no longer

             required to retain pursuant to regulations,

          g. Failing to timely and adequately notify Class Members about the Data

             Breach’s occurrence and scope, so that they could take appropriate steps to

             mitigate the potential for identity theft and other damages; and

          h. Failing to secure its stand-alone personal computers, such as the reception

             desk computers, even after discovery of the data breach.

      169.   Defendant violated Section 5 of the FTC Act and HPAA by failing to use

reasonable measures to protect Private Information and not complying with applicable

industry standards, as described in detail herein. Defendant’s conduct was particularly



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unreasonable given the nature and amount of Private Information it obtained and stored

and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Class.

       170.   Plaintiff and the Class are within the class of persons that the FTC Act and

HIPAA were intended to protect.

       171.   The harm that occurred as a result of the Data Breach is the type of harm

the FTC Act and HIPAA were intended to guard against.

       172.   Defendant’s violation of Section 5 of the FTC Act and HIPAA constitutes

negligence.

       173.   The FTC has pursued enforcement actions against businesses, which, as a

result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

       174.   A breach of security, unauthorized access, and resulting injury to Plaintiff

and the Class was reasonably foreseeable, particularly in light of Defendant’s inadequate

security practices.

       175.   It was foreseeable that Defendant’s failure to use reasonable measures to

protect Class Members’ Private Information would result in injury to Class Members.

Further, the breach of security was reasonably foreseeable given the known high

frequency of cyberattacks and data breaches in the healthcare industry.

       176.   Defendant has full knowledge of the sensitivity of the Private Information

and the types of harm that Plaintiff and the Class could and would suffer if the Private

Information were wrongfully disclosed.



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       177.    Plaintiff and the Class were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew or should have known of

the inherent risks in collecting and storing the Private Information of Plaintiff and the

Class, the critical importance of providing adequate security of that Private Information,

and the necessity for encrypting Private Information stored on Defendant’s systems.

       178.    It was therefore foreseeable that the failure to adequately safeguard Class

Members’ Private Information would result in one or more types of injuries to Class

Members.

       179.    Plaintiff and the Class had no ability to protect their Private Information

that was in, and possibly remains in, Defendant’s possession.

       180.    Defendant was in a position to protect against the harm suffered by Plaintiff

and the Class as a result of the Data Breach.

       181.    Defendant’s duty extended to protecting Plaintiff and the Class from the

risk of foreseeable criminal conduct of third parties, which has been recognized in

situations where the actor’s own conduct or misconduct exposes another to the risk or

defeats protections put in place to guard against the risk, or where the parties are in a

special relationship. See Restatement (Second) of Torts § 302B. Numerous courts and

legislatures have also recognized the existence of a specific duty to reasonably safeguard

personal information.

       182.    Defendant has admitted that the Private Information of Plaintiff and the

Class was wrongfully lost and disclosed to unauthorized third persons as a result of the

Data Breach.



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       183.    But for Defendant’s wrongful and negligent breach of duties owed to

Plaintiff and the Class, the Private Information of Plaintiff and the Class would not have

been compromised.

       184.    There is a close causal connection between Defendant’s failure to

implement security measures to protect the Private Information of Plaintiff and the Class

and the harm, or risk of imminent harm, suffered by Plaintiff and the Class. The Private

Information of Plaintiff and the Class was lost and accessed as the proximate result of

Defendant’s failure to exercise reasonable care in safeguarding such Private Information

by adopting, implementing, and maintaining appropriate security measures.

       185.    As a direct and proximate result of Defendant’s negligence, Plaintiff and

the Class have suffered and will suffer injury, including but not limited to: (i) invasion of

privacy; (ii) theft of their Private Information; (iii) lost or diminished value of Private

Information; (iv) lost time and opportunity costs associated with attempting to mitigate

the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to their Private Information, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private

Information.

       186.    As a direct and proximate result of Defendant’s negligence, Plaintiff and



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the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

      187.   Additionally, as a direct and proximate result of Defendant’s negligence,

Plaintiff and the Class have suffered and will suffer the continued risks of exposure of

their Private Information, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information in its continued possession.

      188.   Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

      189.   Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and insecure manner.

      190.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii)

continue to provide adequate credit monitoring to all Class Members.

                                     COUNT II
                                 Negligence Per Se
                         (On Behalf of Plaintiff and the Class)

      191.   Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1 through 152.

        192. Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in

 or affecting commerce” including, as interpreted and enforced by the FTC, the unfair act



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or practice by Defendant of failing to use reasonable measures to protect Private

Information. Various FTC publications and orders also form the basis of Defendant’s

duty.

        193. Defendant violated Section 5 of the FTC Act (and similar state statutes) by

failing to use reasonable measures to protect Private Information and not complying with

industry standards. Defendant’s conduct was particularly unreasonable given the nature

and amount of Private Information obtained and stored and the foreseeable consequences

of a data breach on Defendant’s systems.

        194. Defendant's duty to use reasonable security measures under HIPAA

required Defendant to "reasonably protect" confidential data from "any intentional or

unintentional use or disclosure" and to "have in place appropriate administrative,

technical, and physical safeguards to protect the privacy of protected health

information." 45 C.F.R. § 164.530(c)(l). Some or all of the healthcare and/or medical

information at issue in this case constitutes "protected health information" within the

meaning of HIPAA.

        195. Defendant violated HIPAA (and similar state statutes) by failing to use

reasonable measures to protect Private Information and not complying with industry

standards.

        196. Defendant’s violation of Section 5 of the FTC Act and HIPAA (and similar

state statutes) constitutes negligence per se.

        197. Class members are consumers within the class of persons Section 5 of the

FTC Act and HIPAA (and similar state statutes) were intended to protect.



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       198. Moreover, the harm that has occurred is the type of harm the FTC Act and

HIPAA (and similar state statutes) were intended to guard against. Indeed, the FTC has

pursued over fifty enforcement actions against businesses which, as a result of their

failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm suffered by Plaintiff and Class Members.

       199. But for Defendant’s wrongful and negligent breach of duties owed to

Plaintiff and the Class, the Private Information of Plaintiff and the Class would not have

been compromised.

       200. There is a close causal connection between Defendant’s failure to

implement security measures to protect the Private Information of Plaintiff and the Class

and the harm, or risk of imminent harm, suffered by Plaintiff and the Class. The Private

Information of Plaintiff and the Class was lost and accessed as the proximate result of

Defendant’s failure to exercise reasonable care in safeguarding such Private Information

by adopting, implementing, and maintaining appropriate security measures.

       201. As a direct and proximate result of Defendant’s negligence per se, Plaintiff

and the Class have suffered and will suffer injury, including but not limited to: (i)

invasion of privacy; (ii) theft of their Private Information; (iii) lost or diminished value

of Private Information; (iv) lost time and opportunity costs associated with attempting

to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain;

(vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the

continued and certainly increased risk to their Private Information, which: (a) remains



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unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures

to protect the Private Information.

       202. As a direct and proximate result of Defendant’s negligence per se, Plaintiff

and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

       203. Additionally, as a direct and proximate result of Defendant’s negligence per

se, Plaintiff and the Class have suffered and will suffer the continued risks of exposure

of their Private Information, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information in its continued possession.

       204. Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       205. Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and insecure manner.

       206. Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii)

continue to provide adequate credit monitoring to all Class Members.

                                      COUNT III



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                              Breach Of Implied Contract
                          (On Behalf of Plaintiff and the Class)

       207.   Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1 through 152.

       208.   Plaintiff and Class Members were required to provide their Private

Information to Defendant as a condition of receiving services from Defendant and/or its

clients.

       209.   Plaintiff and the Class entrusted their Private Information to Defendant. In

so doing, Plaintiff and the Class entered into implied contracts with Defendant by which

Defendant agreed to safeguard and protect such information, to keep such information

secure and confidential, and to timely and accurately notify Plaintiff and the Class if their

data had been breached and compromised or stolen.

       210.   Implicit in the agreement between Plaintiff and Class Members and the

Defendant to provide Private Information, was the latter’s obligation to: (a) use such

Private Information for business purposes only, (b) take reasonable steps to safeguard that

Private Information, (c) prevent unauthorized disclosures of the Private Information, (d)

provide Plaintiff and Class Members with prompt and sufficient notice of any and all

unauthorized access and/or theft of their Private Information, (e) reasonably safeguard

and protect the Private Information of Plaintiff and Class Members from unauthorized

disclosure or uses, (f) retain the Private Information only under conditions that kept such

information secure and confidential.

       211.   The mutual understanding and intent of Plaintiff and Class Members on the




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one hand, and Defendant, on the other, is demonstrated by their conduct and course of

dealing.

       212.   Defendant solicited, offered, and invited Plaintiff and Class Members to

provide their Private Information as part of Defendant’s regular business practices.

Plaintiff and Class Members accepted Defendant’s offers and provided their Private

Information to Defendant.

       213.   In accepting the Private Information of Plaintiff and Class Members,

Defendant understood and agreed that it was required to reasonably safeguard the Private

Information from unauthorized access or disclosure.

       214.   On information and belief, at all relevant times Defendant promulgated,

adopted, and implemented written privacy policies whereby it expressly promised

Plaintiff and Class Members that it would only disclose Private Information under certain

circumstances, none of which relate to the Data Breach.

       215.   On information and belief, Defendant further promised to comply with

industry standards and to make sure that Plaintiff's and Class Members’ Private

Information would remain protected.

       216.   In entering into such implied contracts, Plaintiff and Class Members

reasonably believed and expected that Defendant’s data security practices complied with

relevant laws and regulations and were consistent with industry standards.

       217.   Plaintiff and Class Members paid money to Defendant with the reasonable

belief and expectation that Defendant would use part of its earnings to obtain adequate

data security. Defendant failed to do so.



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       218.   Plaintiff and Class Members would not have entrusted their Private

Information to Defendant in the absence of the implied contract between them and

Defendant to keep their information reasonably secure.

       219.   Plaintiff and Class Members would not have entrusted their Private

Information to Defendant in the absence of their implied promise to monitor their

computer systems and networks to ensure that it adopted reasonable data security

measures.

       220.   Plaintiff and Class Members fully and adequately performed their

obligations under the implied contracts with Defendant.

       221.   Defendant breached the implied contracts it made with Plaintiff and the

Class by failing to safeguard and protect their personal information, by failing to delete

the information of Plaintiff and the Class once the relationship ended, and by failing to

provide accurate notice to them that personal information was compromised as a result of

the Data Breach.

       222.   As a direct and proximate result of Defendant’s breach of the implied

contracts, Plaintiff and Class Members sustained damages, as alleged herein, including

the loss of the benefit of the bargain.

       223.   Plaintiff and Class Members are entitled to compensatory, consequential,

and nominal damages suffered as a result of the Data Breach.

       224.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii)



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immediately provide adequate credit monitoring to all Class Members.

                                     COUNT IV
                                Unjust Enrichment
                         (On Behalf of Plaintiff and the Class)

       225.   Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1 through 152.

       226.   This count is pleaded in the alternative to Plaintiff's breach of implied

contract claim above (Count III).

       227.   Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they paid for services from Defendant and/or its clients and in so doing also

provided Defendant with their Private Information. In exchange, Plaintiff and Class

Members should have received from Defendant the services that were the subject of the

transaction and should have had their Private Information protected with adequate data

security.

       228.   Defendant knew that Plaintiff and Class Members conferred a benefit on it

in the form their Private Information as well as payments made on their behalf as a

necessary part of their receiving services. Defendant appreciated and accepted that

benefit. Defendant profited from these transactions and used the Private Information of

Plaintiff and Class Members for business purposes.

       229.   Upon information and belief, Defendant funds its data security measures

entirely from its general revenue, including payments on behalf of or for the benefit of

Plaintiff and Class Members.

       230.   As such, a portion of the payments made for the benefit of or on behalf of



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Plaintiff and Class Members is to be used to provide a reasonable level of data security,

and the amount of the portion of each payment made that is allocated to data security is

known to Defendant.

       231.   Defendant, however, failed to secure Plaintiff’s and Class Members’ Private

Information and, therefore, did not provide adequate data security in return for the benefit

Plaintiff and Class Members provided.

       232.   Defendant would not be able to carry out an essential function of its regular

business without the Private Information of Plaintiff and Class Members and derived

revenue by using it for business purposes. Plaintiff and Class Members expected that

Defendant or anyone in Defendant’s position would use a portion of that revenue to fund

adequate data security practices.

       233.   Defendant acquired the Private Information through inequitable means in

that it failed to disclose the inadequate security practices previously alleged.

       234.   If Plaintiff and Class Members knew that Defendant had not reasonably

secured their Private Information, they would not have allowed their Private Information

to be provided to Defendant.

       235.   Defendant enriched itself by saving the costs it reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ Personal

Information. Instead of providing a reasonable level of security that would have prevented

the hacking incident, Defendant instead calculated to increase its own profit at the expense

of Plaintiff and Class Members by utilizing cheaper, ineffective security measures and

diverting those funds to its own profit. Plaintiff and Class Members, on the other hand,



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suffered as a direct and proximate result of Defendant’s decision to prioritize its own

profits over the requisite security and the safety of their Private Information.

       236.    Under the principles of equity and good conscience, Defendant should not

be permitted to retain the money wrongfully obtained Plaintiff and Class Members,

because Defendant failed to implement appropriate data management and security

measures that are mandated by industry standards.

       237.    Plaintiff and Class Members have no adequate remedy at law.

       238.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of

privacy; (ii) theft of their Private Information; (iii) lost or diminished value of Private

Information; (iv) lost time and opportunity costs associated with attempting to mitigate

the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to their Private Information, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private

Information.

       239.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       240.    Defendant should be compelled to disgorge into a common fund or



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constructive trust, for the benefit of Plaintiff and Class Members, proceeds that they

unjustly received from them. In the alternative, Defendant should be compelled to refund

the amounts that Plaintiff and Class Members overpaid for Defendant’s services.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment as follows:

          A.   For an Order certifying this action as a class action and appointing Plaintiff

               and her counsel to represent the Class;

          B.   For equitable relief enjoining Defendant from engaging in the wrongful

               conduct complained of herein pertaining to the misuse and/or disclosure of

               Plaintiff's and Class Members’ Private Information, and from refusing to

               issue prompt, complete and accurate disclosures to Plaintiff and Class

               Members;

          C.   For equitable relief compelling Defendant to utilize appropriate methods

               and policies with respect to patient data collection, storage, and safety, and

               to disclose with specificity the type of Private Information compromised

               during the Data Breach;

          D.    For injunctive relief requested by Plaintiff, including but not limited to,

               injunctive and other equitable relief as is necessary to protect the interests

               of Plaintiff and Class Members, including but not limited to an order:

               i.      Prohibiting Defendant from engaging in the wrongful and unlawful

                       acts described herein;




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           ii.       Requiring Defendant to protect, including through encryption, all

                     data collected through the course of its business in accordance with

                     all applicable regulations, industry standards, and federal, state, or

                     local laws;

          iii.       Requiring Defendant to delete, destroy, and purge the Private

                     Information of Plaintiff and Class Members unless Defendant can

                     provide to the Court reasonable justification for the retention and

                     use of such information when weighed against the privacy interests

                     of Plaintiff and Class Members;

          iv.        Requiring Defendant to implement and maintain a comprehensive

                     Information    Security    Program     designed    to   protect   the

                     confidentiality and integrity of the Private Information of Plaintiff

                     and Class Members;

           v.        Prohibiting Defendant from maintaining the Private Information of

                     Plaintiff and Class Members on a cloud-based database;

          vi.        Requiring Defendant to engage independent third-party security

                     auditors/penetration testers as well as internal security personnel to

                     conduct testing, including simulated attacks, penetration tests, and

                     audits on Defendant’s systems on a periodic basis, and ordering

                     Defendant to promptly correct any problems or issues detected by

                     such third-party security auditors;




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          vii.       Requiring Defendant to engage independent third-party security

                     auditors and internal personnel to run automated security

                     monitoring;

         viii.       Requiring Defendant to audit, test, and train its security personnel

                     regarding any new or modified procedures;

          ix.        Requiring Defendant to segment data by, among other things,

                     creating firewalls and access controls so that if one area of

                     Defendant’s network is compromised, hackers cannot gain access

                     to other portions of Defendant’s systems;

           x.        Requiring Defendant to conduct regular database scanning and

                     securing checks;

          xi.        Requiring Defendant to establish an information security training

                     program that includes at least annual information security training

                     for all patients, with additional training to be provided as

                     appropriate based upon the patients’ respective responsibilities with

                     handling personal identifying information, as well as protecting the

                     personal identifying information of Plaintiff and Class Members;

          xii.       Requiring Defendant to routinely and continually conduct internal

                     training and education, and on an annual basis to inform internal

                     security personnel how to identify and contain a breach when it

                     occurs and what to do in response to a breach;




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         xiii.       Requiring Defendant to implement a system of tests to assess its

                     respective patients’ knowledge of the education programs discussed

                     in the preceding subparagraphs, as well as randomly and

                     periodically testing patients’ compliance with Defendant’s policies,

                     programs, and systems for protecting personal identifying

                     information;

         xiv.        Requiring Defendant to implement, maintain, regularly review, and

                     revise as necessary a threat management program designed to

                     appropriately monitor Defendant’s information networks for

                     threats, both internal and external, and assess whether monitoring

                     tools are appropriately configured, tested, and updated;

          xv.        Requiring Defendant to meaningfully educate all Class Members

                     about the threats that they face as a result of the loss of their

                     confidential personal identifying information to third parties, as

                     well as the steps affected individuals must take to protect

                     themselves; and

         xvi.        Requiring Defendant to implement logging and monitoring

                     programs sufficient to track traffic to and from Defendant’s servers;

                     and

         xvii.       for a period of 10 years, appointing a qualified and independent

                     third party assessor to conduct a SOC 2 Type 2 attestation on an

                     annual basis to evaluate Defendant’s compliance with the terms of



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                     the Court’s final judgment, to provide such report to the Court and

                     to counsel for the Class, and to report any deficiencies with

                     compliance of the Court’s final judgment.

       E.   For equitable relief requiring restitution and disgorgement of the revenues

            wrongfully retained as a result of Defendant’s wrongful conduct;

       F.   Ordering Defendant to pay for not less than ten years of credit monitoring

            services for Plaintiff and the Class;

       G.   For an award of actual damages, compensatory damages, statutory

            damages, and statutory penalties, in an amount to be determined, as

            allowable by law;

       H.   For an award of punitive damages, as allowable by law;

       I.   For an award of attorneys’ fees and costs, and any other expense, including

            expert witness fees;

       J.   Pre- and post-judgment interest on any amounts awarded; and

       K.   Such other and further relief as this court may deem just and proper.

                         JURY TRIAL DEMANDED

     Plaintiff demands a trial by jury on all claims so triable.




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Dated: March 1, 2024                Respectfully submitted,

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